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UNITED STATES OF AMERICA

V.

CHRIS BURNETT 04cr20354-B

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

The defendant's counsel this day notified the Court that in the interest of
justice that this matter be continued Pursuant to the Speedy Trial Act, as set out

in 18 U.S.C. § 3161(h)(8)(A), a defendant may be granted a period of excludable

delay if the ends of justice are served

lt is therefore ORDERED that the time period of gi 2~ g j 5 through
;[ :2 g /Qf§ be excluded from the time its imposed by the Speedy Trial Act for

trial of this case.

ARRAIGNMENT IS RESET TO THURSDAY, ]ULY 7, 2005 AT 11:00 A.M.

BEFORE MAGISTRATE ]UDGE DIANE K. VESCOVO.

rhis 3 day Of fle ,2005.

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UNITED sTAT`Es MAGISTRATE ]UDGE

Th|S document entered on the docket sheet in compliance

with aule 55 and/oraz(b) FHCrP on 6 -' é v QS

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:04-CR-20354 Was distributed by faX, mail, or direct printing on
.lune 6, 2005 to the parties listed.

 

 

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

